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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

                                                        §
IN RE:                                                  §    CASE NO. 14-20130
                                                        §
AUTOSEIS, INC., et al., 1                               §    CHAPTER 11
                                                        §
         Debtors.                                       §    JOINTLY ADMINISTERED
                                                        §

    OBJECTION OF RICHARD A. DEGNER TO THE FIRST AMENDED DISCLOSURE
           STATEMENT FOR THE JOINT PLAN OF REORGANIZATION

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         Comes now, Richard A. Degner, a party-in-interest herein, and respectfully files this

Objection to the First Amended Disclosure Statement for the Joint Plan of Reorganization of the

Debtors Pursuant to Chapter 11 of the Bankrutpcy Code (“First Amended Disclosure Statement”)

and would respectfully state the following:

                                         PARTY-IN-INTEREST

         1.   Richard A. Degner (hereinafter “Degner”), residing at 800 Mulberry Lane, Bellaire,

Texas 77401, is a party-in-interest herein. He is the owner of the trademark licensed by the

Debtor pursuant to that Servicemark License dated January 10, 2006. Without admitting that the

Servicemark License agreement is an executory contract that may be assumed, it is presently

unclear whether the Debtors “intend” to assume or reject the agreement. Further, Degner,

appears to be the subject of action, proposed by the Debtor’s First Amended Plan of

Reorganization, designed to strip him of post-petition indemnification rights which are

authorized by the Debtor’s By-Laws and Articles of Incorporation.


1
    The Debtors in these Chapter 11 cases are: Autoseis, inc. (5224); Global Geophysical Services, Inc. (4281);
    Global Geophysical EAME, Inc. (2130); GGS International Holdings, Inc. (2420); Accrete Monitoring, Inc.
    (2556); and Autoseis Development Company (9066).
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                                             ADEQUATE DISCLOSURE

           2.       The First Amended Disclosure Statement, according to the Debtors, “sets forth

       certain information regarding the Company’s proposed Restructuring, prepetition operating

       and financial history, the need to seek chapter 11 protection, significant events that have

       occurred during the Chapter 11 Cases, and the Debtor’s anticipated organization, operations,

       and liquidity upon successful emergence from chapter 11 protection.” Said information is

       supposed to provide holders of impaired claims with “adequate information” regarding a

       debtor’s proposed chapter 11 plan.

           3. The Bankruptcy Code defines “Adequate Information” as follows:

                     “Information of a kind, and in sufficient detail, as far as is reasonable
                     practicable in light of the nature and history of the debtor, for the
                     condition of the debtor’s books and records, that would enable a
                     hypothetical reasonable investor typical of the holders of claims or
                     interest of the relevant class to make an informed judgment about the
                     plan… 2

           Precisely what type of material constitutes adequate information in a disclosure statement

is determined by the courts on a case-by-case basis using a flexible standard. 3            In In re

Metrocraft Publishing Servs., Inc., 39 B.R. 567, 568 (Bankr. N.D. Ga. 1984), the court identified

the following “[r]elevant factors for evaluating the adequacy of a disclosure statement:

                •    The events which led to the filing of a bankruptcy petition;
                •    A description of the available assets and their value;
                •    The anticipated future of the company;
                •    The source of information stated in the disclosure statement;
                •    a disclaimer;
                •    the present condition of the debtor while in Chapter 11;
                •    the estimated return to creditors under a chapter 7 liquidation;
                •    the accounting method utilized to produce financial information and the name of
                     the accountants responsible for such information;
                •    the future management of the debtor;

2
    11 U.S.C. §1125(a(1).
3
    H. Rep. N. 595, 95th Cong., 1st Sess. 408 (1977).


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             •     the chapter 11 plan or a summary thereof;
             •     the estimated administrative expenses, including attorney’s and accountants’ fees;
             •     the collectability of accounts receivable;
             •     financial information, data, valuations or projections relevant to the creditor’s
                   decision to accept or reject the chapter 11 plan;
             •     information relevant to the risks posed to creditors under the plan;
             •     the actual or projected realizable value from recovery of preferential or otherwise
                   avoidable transfers;
             •     litigation likely to arise in a non-bankruptcy context;
             •     tax attributes of the debtors; and
             •     the relationship of the debtor with affiliates. 4

        These factors, or some variation thereof, have been adopted by a number of courts as an

aid in measuring the adequacy of the information contained is disclosure statements. 5                       A

disclosure statement “must clearly and succinctly inform the average unsecured creditors of what

it is going to get, when it is going to get it, and what contingencies there are to getting a

distribution.” 6

             OBJECTION TO FIRST AMENDED DISCLOSURE STATEMENT

        4.   Degner hereby asserts that the First Amended Disclosure Statement lacks Adequate

Information as required by Section 1125 of the Bankruptcy Code. At a bare minimum, the First

Amended Disclosure Statement does not provide adequate information and should be

supplemented with regard to the following items:

             •     A number of Agreements and Other Documents Relating to or Governing the
                   Reorganized Debtors Have Not Been Negotiated or Finalized

        The Debtor has indicated in the First Amended Disclosure Statement that a number of

Agreements relating to or Governing the Reorganized Debtor have not been finalized and further


4
  In re Metrocraft Publshing Serv., Inc., 39 B.R. 567,568 (Bankr. N.D. Ga. 1984)
5
  See e,g., In re U.S. Brass Corp., 194 B.R. 420, 424 (Bankr. E.D. Tex. 1966); Westland Oil Development Corp v.
MCorp Management Solutions, Inc., 157 B.R. 100, 102 (Bankr. S.D. Tex. 1993); In re Eastern Maine Electric
Coop., Inc., 125 B.R. 329, 333 (Bankr D. Me. 1991); In re Ferretti, 128 B.R. 16, 18 (Bankr. D.N.H. 1991); In re
Cardinal Congregate I, 121 B.R. 760,765 (Bankr. S.D. Ohio 1990); In re Microwave Products of America, Inc., 100
B.R. 376, 378 (Bankr. W.D. Tenn 1989); In re Neutgens, 87 B.R. 128, 129 (Bankr. D. Mont. 1987).
6
  In re Feretti, 128 B.R. 16, 19 (Bankr. D.N.H. 1991).


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that:

         “the terms and conditions of these agreements and other documents may
        adversely affect the Reorganized Debtors, their operations, their financial
        condition or results of operations and/or the holders of New Common Stock in a
        number of ways that cannot be predicted at this time. In addition, certain of the
        documents described in this First Amended Disclosure Statement have not been
        finalized, and the terms and provisions of the final agreements and other
        documents include other material terms not included in the summaries
        contained herein [emphasis added].            Furthermore, failure to finalize or
        successfully negotiate these documents or obtain any required approvals,
        including any required approvals from the Requisite Investors, may delay or
        prevent consummation of the Plan”

        Degner would argue that said disclosure is definitely NOT the sort of disclosure that

adequately informs creditors. To disseminate information that there are documents “out there”

which form the basis of the plan that have not been finished or finally negotiated, for which no

summaries are available and which may severely impact the creditors DOES THE EXACT

OPPOSITE of what a disclosure statement is supposed to do i.e. adequately inform. The above

statements leave the creditors and/or parties-in-interest wondering exactly how those documents

impact the plan and may affect them.

        For instance, Degner is the perfect example of someone that could be adversely affected

by the disclosure of those documents, what they are and what they do. The Debtors have made

mysterious references in various places throughout the First Amended Disclosure Statement that

they are amending their By-Laws and Articles of Incorporation. Does that mean each and every

debtor? The answer is unknown. Do they operate under one set of By-Laws? The answer is

unknown.     Further, the Debtors give no legal authority as to how they are making the

amendments without having the existing shareholders vote on the amendments as required by the

present documents. The Debtors are carrying on their businesses during the pendency of their




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chapter 11 cases. Pursuant to the provisions of the Bankruptcy Code, a debtor in possession

must comply with the Code and non-bankruptcy law. Shareholders presently exist and equity

will not be cancelled until the confirmation. If the Debtors are amending their By-Laws and

Articles of Incorporation pre-confirmation they should be complying with applicable documents

and state law which requires a Shareholder vote. Upon what authority and under what legal

theory or Code section can the Debtors simply state that shareholders are “deemed to have

approved” the amendments? The Debtors should include that information in its disclosures.

       If the Debtors are amending their By-Laws and Articles of Incorporation post-

confirmation then a non-debtor’s post-bankruptcy rights should pass through the bankruptcy

process unaffected. Yet the indication from the First Amended Disclosure Statement is that this

is not going to happen. Quite the contrary, the Plan proposes to strip Degner’s post-petition

rights which are contained in the By-Laws and the Articles of Incorporation.     If the Amended

By-Laws and/or Amended Articles of Incorporation are the “unfinished documents” referred to

by the Debtors, they should be finalized and summaries made available to creditors that inform

them of the implications of what the documents may do and so that the legality of the documents

can be assessed. Again, going back to Degner’s example, if the documents purport to strip

Degner of valuable post-petition rights, this may give rise to an administrative expense claim.

That potential administrative expense claim should be quantified for the creditors and included in

the Debtors’ analysis of treatment of administrative expense claims. It is impossible to quantify

any such potential claims, unless and until the Debtor finalizes the documents and discloses the

information to creditors.   In this instance,   Degner is just an example.      Degner could be

absolutely wrong as to the above example but cannot make that determination because the

information that is supposed to be included in the First Amended Disclosure Statement is




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severely lacking. What other claims could arise due to the finalization of the documents which

may lead to administrative claims which could impact the creditors and the plan? The debtor

should be required to amend the First Amended Disclosure Statement to disclose the finalized

documents and at the very least give an adequate summary of what they are and what

implications they may have on creditors and/or parties-in-interest. Degner cannot provide any

suggested disclosure language regarding the documents as the documents are a mystery. What

does documents relating to and governing the Debtors mean? What other documents described

in this First Amended Disclosure Statement have not been finalized and what are the terms and

provisions of those agreements?

             •    Plan releases

         There is an inadequate description of the circumstances that give rise to the grossly

overbroad and impermissible third party releases. The purported releases constitute a clear

violation of Fifth Circuit law regarding granting non-consensual non-debtor releases. 7 What

valuable services were rendered to the Debtors that would necessitate the releases?                                 The

employees of the Debtor were afforded a KERP to compensate them for their services. It is

impossible to determine exactly what they received via the KERP as most of the compensation

and benefits awarded were under seal. While Degner does not intend to suggest that a limited

release of the plan proponents and committee professionals are per se impermissible insofar as it

is limited to actions taken since the Petition Date and related to the Plan, the Court should not

permit the plan process to be used as a means of stripping the Debtors estate of potentially

valuable claims against any and all potential parties.




7
 See, e.g., Matter of Zale Corp., 62 F.3rd 746 (5th Cir. 1995) (holding that a release of officers and directors was an
impermissible third party release violative of section 524(e) of the Bankruptcy Code).


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           •   Executory Contracts

       The First Amended Disclosure Statement indicates that the Plan provides for the

assumption of certain executory contracts and unexpired leases. The Debtors’ have indicated that

their business may be negatively affected if they are unable to assume certain of their executory

contracts but gives no estimates as the financial impact on the Debtors if the contracts cannot be

assumed. The Debtors have asserted:

          “ that the assumption of any agreement shall result in the full release and
       satisfactions of any Claims or defaults whether monetary on nonmonetary, and the
       deemed waiver of any termination right or remedial provision arising under any
       such agreement, Executory Contract or Unexpired Lease at any time prior to the
       effective date of its assumption, or as a result of such assumption, the transactions
       contemplated by the Plan or any changes in control or ownership of any Debtors
       during the Chapter 11 Cases or as a result of the implementation of the Plan.
       Absent consent by the parties to the contracts there is no guarantee that the
       executory contracts may be assumed wherein those terms and conditions may be
       expunged from the executory contract and/or unexpired lease. There is no
       guarantee that such consent either would be forthcoming or that conditions would
       not be attached to any such consent that makes assuming the executory contracts
       in question unattractive. The Debtors then would be required to either forego the
       benefits offered by such executory contracts or find alternative arrangements to
       replace them”.

       Despite this disclosure, given that the Debtors have opted not to file the Plan Supplement

until after the objection deadline and after the hearing on the First Amended Disclosure

Statement, it is impossible for the creditors to determine even the range of the cure cost of the

assumed contracts. The Debtor has estimated the cure cost at approximately $7.5 million.

Where did they get that estimate? Either they have the information or they don’t. The Debtors

should be made to disclose the information on which they base the cure cost estimate. Further,

the Debtors provide no information regarding the estimates of potential rejection claims which

would increase the amount of class 5 claims. Said rejections claims could drastically reduce the




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distribution ratios to trade creditors. The amount of the potential reduction should be disclosed

and/or at least a range of the potential distribution reduction should be provided.

                                 RESERVATION OF RIGHTS

       5.   Degner reserves all rights to assert any additional objections as may be necessary in

the event the Debtors file any further amendments to the Disclosure Statement containing all or a

portion of the missing information and materials identified above or should additional objections

arise on account of other documents filed by the Debtor. Further, Degner reserves the right to

object to the confirmation of any proposed plan of reorganization, including the Plan described

in the First Amended Disclosure Statement.

                                              JOINDER

       6.   Degner reserves all rights to join in any other objections to the First Amended

Disclosure Statement which may be filed by other parties.

       For the reasons set forth above, Degner respectfully request that the Court deny approval

of the Disclosure Statement, and grant such other and further relief as it deems just and proper.


Dated this 22nd day of October, 2014.

                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served by the
Court’s CM/ECF system to all registered ECF users appearing in the case and the parties identified
below on October 22, 2014.

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